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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


INVENTUS POWER, INC., and                                      Case No.: 1:20-cv-03375
ICC ELECTRONICS (DONGGUAN) LTD.,
                        Plaintiff,
                                                               Judge: Honorable Robert M. Dow, Jr.
v.

SHENZHEN ACE BATTERY CO., LTD.,                                Magistrate Judge: Honorable Jeffrey Cummings

                                    Defendant.



                             ACE’S REQUEST FOR MEDIATION AND
                            MOTION TO STAY PROCEEDINGS (Opposed)


         Defendant Shenzhen Ace Battery Co., Ltd. (“ACE”) respectfully requests that this Court

conduct a mediation in this case or order a mediation by a neutral third party to facilitate settlement

discussion between the parties, and to stay proceedings.

     1. Background

         On May 26, 2022, due to the current extreme circumstances surrounding discovery in China,

and potential civil and criminal penalty from the Chinese authorities, ACE reached out to Plaintiffs to

discuss whether Plaintiffs were open to settlement and mediation.

         On May 27, 2022, a meet and confer was held. Plaintiffs’ counsel indicated that Plaintiffs did

not oppose settlement discussion or mediation but were unwilling to agree to

     2. A Mediation will facilitate resolution of parties’ disputes

         Despite its best effort to produce documents in compliance with this Court’s order, 1 ACE

has received multiple warnings and is subject to on-going investigation by multiple Chinese authorities.


1
 ACE has also retained vendor in the United States to reproduce new load files related to the extracted text files and.tiff
placeholders or single-page.tiff image files. [Dkt. 246]. This reproduction is based on the Native Files that ACE has
previously provided.
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Warned that its entire business operation is in jeopardy, ACE cannot be reasonably expected to subject

itself to the harsh civil and criminal penalties.

        ACE is willing to discuss settlement with Plaintiffs. A mediation will facilitate discussion

between the parties and assist resolution and settlement of the disputes on the substantive issues.

        Frist, Plaintiffs do not oppose to settlement discussion and mediation and the parties have started

settlement negotiation. This sets a good foundation to proceed negotiation under a structured and

constructive mediation process. A mediation will facilitate discussion and assists parties in evaluating

their conflicts and resolving the disputes.

        Second, Plaintiffs and ACE can discuss the substantive issues without violating Chinese law.

Consequently, ACE will not be forced into the situation of violating either this Court’s discovery order

or the Chinese law.

    3. Motion to stay pending settlement discussion and mediation is appropriate in this case

        “The District Court has broad discretion to stay proceedings as an incident to its power to

control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997); Landis v. North American Co.,

299 U.S. 248, 254 (1936) (power to stay pending action “is incidental to the power inherent in every

court to control the disposition of the cases on its docket with economy of time and effort for itself,

counsel, and for litigants.”).

        In evaluating whether to exercise their discretion to stay proceedings, courts consider

“(1) whether a stay will simplify the issues in question and streamline the trial; (2) whether a stay will

reduce the burden of litigation on the parties and on the court; and (3) whether a stay will unduly

prejudice or tactically disadvantage the non-moving party.” Berkeley*IEOR v. Teradata Operations,

Inc., 2019 U.S. Dist. LEXIS 36563, 2019 WL 1077124, at *5 (N.D. Ill. Mar. 7, 2019).

         First, a stay pending settlement and mediation here will simplify the issues in question.

A settlement will undoubtedly simplify the issues in question and streamline further proceedings.
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Even if a settlement cannot be reached, discussions over the substantive issues between Plaintiffs and

ACE will provide the parties a better understanding on the merits of the disputes. A preliminary

assessment of the issues in question will simplify the issues and streamline the trial.

        Second, a stay pending settlement and mediation here will reduce the burden of litigation.

A settlement will certainly reduce the burden of litigation and save judicial resources. A preliminary

assessment of whether the alleged misappropriation occurred may subsequently eliminate the need for

additional responsive pleadings, and fact and expert discovery.

        Third, Plaintiffs will not be unduly prejudiced or tactically disadvantaged by a stay of the

proceedings pending the parties’ settlement discussion. If the parties cannot reach a settlement,

Plaintiffs can proceed with this action. If a settlement is reached and approved, some or all of Plaintiffs’

claims will be resolved.

        Therefore, good causes exist to stay proceedings pending parties’ settlement discussion and

mediation because a stay will allow the parties to discuss the substantive issue, simplify the issues in

question and reduce the burden of litigation. Plaintiffs are not unduly prejudiced by or tactically

disadvantaged.

                                               Conclusion.

        For the foregoing reasons, ACE respectfully requests that this Court conduct a mediation in

this case or order a mediation by a neutral third party and to stay proceedings.

                                                           Respectfully Submitted:
    Date: 06/06/2022                                       /s/ He Cheng
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                                   CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on this June 6, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, along with the attached Exhibits, and service was

perfected on all counsel of record and interested parties through this system, which will deliver a true

and correct copy of the foregoing documents via CM/ECF.




  Date: 06/06/2022                                         /s/ He Cheng
                                                           He Cheng




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